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                                                                                 J. BRUCE ALVERSON, ESQ.
                                                                             2   Nevada Bar No. 1339
                                                                                 KARIE N. WILSON, ESQ.
                                                                             3   Nevada Bar No. 7957
                                                                                 ALVERSON TAYLOR
                                                                             4   MORTENSEN & SANDERS
                                                                                 6605 Grand Montecito Pkwy, Ste. 200
                                                                             5   Las Vegas, NV 89149
                                                                                 702-384-7000 Phone
                                                                             6   702-385-7000 Fax
                                                                                 Attorneys for Defendants
                                                                             7

                                                                             8                               UNITED STATES DISTRICT COURT

                                                                             9                                 FOR THE DISTRICT OF NEVADA
ALVERSON, TAYLOR, MORTENSEN & SANDERS




                                                                            10   JIMMY PETERSON, individually, and as                   CASE NO:
                                                                                 Guardian ad Litem for CHARLOTTE-MARIE-
                                                                            11   SMITH-PETERSON, a minor,
                                        6605 GRAND MONTECITO PKWY STE 200




                                                                            12                                Plaintiffs,
                                                LAS VEGAS, NV 89149
                                                    (702) 384-7000




                                                                            13   v.
                                                      LAWYERS




                                                                            14   TELICIA DA’SHANEE HALL, an individual;
                                                                                 NEW PRIME, INC., a Foreign Corporation; and
                                                                            15   DOES I through X, inclusive

                                                                            16                           Defendants.
                                                                                 __________________________________________
                                                                            17

                                                                            18                 DEFENDANT NEW PRIME, INC.’S NOTICE OF REMOVAL

                                                                            19   TO:    Clerk of the United States District Court for the District of Nevada

                                                                            20          PLEASE TAKE NOTICE that Defendant NEW PRIME, INC. hereby removes to this

                                                                            21   Court the state court action entitled “JIMMY PETERSON, individually, and as Guardian ad

                                                                            22   Litem for CHARLOTTE-MARIE SMITH-PETERSON, a minor, Plaintiffs v. TELICIA

                                                                            23   DA’SHANEE HALL and NEW PRIME, INC., a Foreign Corporation, and DOES I through X;

                                                                            24   inclusive, Defendants,” Case No. A-17-756486-C filed in the Eighth Judicial District Court for
                                                                                                                             1
                                                                                 Case 2:17-cv-01860-JCM-CWH Document 1 Filed 07/06/17 Page 2 of 4




                                                                             1   the State of Nevada, County of Clark. A copy of the Complaint is attached hereto as Exhibit A.

                                                                             2   The grounds for removal are:

                                                                             3          1.      This Court has original subject matter jurisdiction over this action pursuant to 28

                                                                             4   U.S.C. § 1332 and 28 U.S.C. §§ 1441(a)-(c), in that it is a civil action between citizens of the

                                                                             5   State of Nevada, and a citizen of the State of Missouri and a foreign corporation, and the matter

                                                                             6   in controversy exceeds $75,000.00, exclusive of interest and costs, as set forth below.

                                                                             7          2.      Based upon information and belief, Plaintiff JIMMY PETERSON is and remains

                                                                             8   a citizen of the State of Nevada. See Complaint ¶ I.

                                                                             9          3.      Based upon information and belief, Plaintiff CHARLOTTE-MARIE SMITH-
ALVERSON, TAYLOR, MORTENSEN & SANDERS




                                                                            10   PETERSON is and remains a citizen of the State of Nevada. See Complaint ¶ II.

                                                                            11          4.      Upon information and belief, Defendant TELICIA DA’SHANEE HALL is and
                                        6605 GRAND MONTECITO PKWY STE 200




                                                                            12   remains a citizen of the State of Missouri.
                                                LAS VEGAS, NV 89149
                                                    (702) 384-7000




                                                                            13          5.      Defendant NEW PRIME, INC. is a Nebraska corporation with its principal place
                                                      LAWYERS




                                                                            14   of business in Missouri.

                                                                            15          6.      The Defendants sued as DOES I through X, inclusive, are fictitious parties and

                                                                            16   not relevant to the determination of subject matter jurisdiction. See 28 U.S.C. § 1441(a) (stating

                                                                            17   “For purposes of removal under this chapter, the citizenship of defendants sued under fictitious

                                                                            18   names shall be disregarded”).

                                                                            19          7.      Based upon information and belief, the amount in controversy, exclusive of

                                                                            20   interest and costs, exceeds $75,000.00. In the Complaint, Plaintiffs allege that they have and

                                                                            21   “will in the future be caused to suffer disability, mental and physical pain and suffering,

                                                                            22   disfigurement, loss of enjoyment of life, hedonic damages and loss of household services.” See

                                                                            23   Complaint ¶ X. Plaintiffs further allege that they have incurred and “will in the future be caused

                                                                            24   to incur medical bills and expenses incidental thereto…” See Complaint ¶ XI. Plaintiff JIMMY
                                                                                                                                  2
                                                                                 Case 2:17-cv-01860-JCM-CWH Document 1 Filed 07/06/17 Page 3 of 4




                                                                             1   PETERSON further alleges that he has “been caused and may in the future be caused to sustain

                                                                             2   loss of income and/or impairment of earning capacity…” See Complaint ¶ XII.

                                                                             3          8.      Venue is appropriate in this Court pursuant to 28 U.S.C. §§ 1441(a) and 1446(a)-

                                                                             4   (b) and Local Rule 8-1. This action was originally brought in the Eighth Judicial District for the

                                                                             5   State of Nevada, Clark County.

                                                                             6          9.      This notice of removal is timely filed within thirty (30) days after receipt of the

                                                                             7   paper that makes this case removable as required by 28 U.S.C. § 1446(b), in that it is filed within

                                                                             8   thirty (30) days of service of the Summons and Complaint on Defendant NEW PRIME, INC. on

                                                                             9   June 30, 2017. Upon information and belief, Defendant TELICIA DA’SHANEE HALL has not
ALVERSON, TAYLOR, MORTENSEN & SANDERS




                                                                            10   yet been properly served with the Summons and Complaint.

                                                                            11          10.     Pursuant to 28 U.S.C. 1446(d), Defendant NEW PRIME, INC. has prepared and
                                        6605 GRAND MONTECITO PKWY STE 200




                                                                            12   will file with the Clerk of the Eighth Judicial District Court for Clark County, Nevada, a Notice
                                                LAS VEGAS, NV 89149
                                                    (702) 384-7000




                                                                            13   of Removed Action.
                                                      LAWYERS




                                                                            14          Dated this 6th day of July, 2017.

                                                                            15                                                        ALVERSON, TAYLOR
                                                                                                                                      MORTENSEN & SANDERS
                                                                            16

                                                                            17
                                                                                                                                      ____________________________________
                                                                            18                                                        J. BRUCE ALVERSON, ESQ.
                                                                                                                                      Nevada Bar No. 1339
                                                                            19                                                        KARIE N. WILSON, ESQ.
                                                                                                                                      Nevada Bar No. 7957
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                                                                            22                                                        Attorneys for Defendants

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                                                                                 Case 2:17-cv-01860-JCM-CWH Document 1 Filed 07/06/17 Page 4 of 4




                                                                             1                                    CERTIFICATE OF ELECTRONIC SERVICE

                                                                             2             I certify that on the 6th day of July, 2017, service of the above and foregoing

                                                                             3   DEFENDANT NEW PRIME, INC.’S NOTICE OF REMOVAL was made by electronically

                                                                             4   filing a true and correct copy of the same to each party addressed as follows:

                                                                             5   Steven M. Burris, Esq.
                                                                                 sb@steveburrislaw.com
                                                                             6   Samuel B. Benham, Esq.
                                                                                 samb@steveburrislaw.com
                                                                             7   LAW OFFICES OF STEVEN M. BURRIS
                                                                                 2810 W. Charleston Blvd., Ste. F-58
                                                                             8   Las Vegas, NV 89102
                                                                                 702-258-6238 Phone
                                                                             9   702-258-8280 Fax
ALVERSON, TAYLOR, MORTENSEN & SANDERS




                                                                                 Attorneys for Plaintiffs
                                                                            10

                                                                            11
                                        6605 GRAND MONTECITO PKWY STE 200




                                                                                                                                               ____________________________________
                                                                            12                                                                 Employee of ALVERSON, TAYLOR
                                                                                                                                               MORTENSEN & SANDERS
                                                LAS VEGAS, NV 89149
                                                    (702) 384-7000




                                                                            13
                                                      LAWYERS




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